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    EXHIBIT 9
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               EXPERT REPORT OF CHARLES M. BENBROOK, PhD
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       B.      Understating Risks

       743.    In the discovery records in this case that I have reviewed, there are dozens of

examples where Monsanto employees, consultants, Third Party Network scientists, and PR firms

prepare and share written materials that overstate the certainty of some things (e.g., “get up and

shout glyphosate is non-toxic”), and downplay the significance of other known facts (e.g.,

glyphosate-based herbicides are genotoxic in some tests).

       744.    In an episode described in detail earlier, Monsanto officials substantially

mischaracterized statements made by third-party experts that Monsanto had brought to an EPA

Scientific Advisory Panel meeting.

       745.    The inaccurate statements were contained in a letter from Monsanto’s senior U.S.

registration specialist to EPA after the SAP meeting. The letter asserted that Monsanto’s invited

guests testified at the SAP meeting that a repeat of the controversial Bio/dynamics mouse study

was not warranted, when none of the invited experts made such a statement.

       746.    Other examples of overstating benefits or understating risks are discussed below.

               1.      The IARC Review Process

       747.    In 2014, Monsanto initiated a number of activities to potentially influence the

decision reached by the IARC Working Group assessing glyphosate carcinogenicity.

       748.    IARC procedures and policies are clearly stated and well known. For example,

see the 2015 published paper “IARC Monographs: 40 Years of Evaluating Carcinogenic Hazards

to Humans” (Donna Farmer Exhibit I-44; or access online https://ehp.niehs.nih.gov/wp-

content/uploads/123/6/ehp.1409149.alt.pdf).

       749.    IARC Working Groups review and rely only on the results, insights, and

information in scientific papers published in peer-reviewed journals. Unpublished studies




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